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          Case 1:19-cv-11076-FDS Document 44 Filed 09/03/19 Page 2 of 4




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS




Paul Jones

       Plaintiff                                                              19-cv-11076-FDS


Dolan Connly P.C. et al

      Defendant
                                        NOTICE OF DEFAULT



        Upon application of the Plaintiffs,_ _ _P_a_u_lJ_o_n_e_s_ _ _ _ _ for an order of Default
                             Orlans P.C., Linda Or1ans , Alison Orlans
 for failure of the Defendant, _ _ _ _ _ _ _ _ _ _ _ _ , to plead or otherwise defend as
 provided by Rule 55(a) of the Federal Rules of Civil Procedure, notice is hereby given that the
 Defendant has been defaulted this 21st of            August           2019



                                                                         ROBERT M. FARRELL
                                                                         CLERK OF COURT



                                                             By:         /s/ Taylor Halley
                                                                         Deputy Clerk
            Case 1:19-cv-11076-FDS Document 44 Filed 09/03/19 Page 3 of 4
            Case 1:19-cv-11076-FDS Document 42 Filed 08/21/19 Page 1 of 2

                           UNITED STATES DISTRICT COURT
                                                    for the
                               DISTRICT OF MASSACHUSETTS


               PAUL JONES

                      V.                             CIVIL ACTION NO:1:19-CV-11076-FDS

     DOLAN CONNL Y P.C., ET AL.




        STANDING ORDER REGARDING MOTIONS FOR DEFAULT JUDGMENT



    A Notice of Default has been issued to the above named defendant(s) upon request of the
   plaintiff(s) in the above entitled action.

    In anticipation of a Motion for Entry of Default Judgment being filed, counsel are advised of
   the following requirements for submission of such motion in order to ensure compliance with
   Rule 55 of the Federal Rules of Civil Procedure:

   1. A party making a motion for default judgment shall comply with all the requirements of
   Fed. R. Civ. P. 55 particularly those related to filing of affidavits. The moving party shall also
   submit an appropriate form of default judgment in the fashion of the draft order attached hereto
   as Appendix A. Such compliance shall be completed no later than 14 days after the filing of
   the motion itself;

   2 . Within the 14- day period for compliance by the moving party, the party against whom
   default judgment is sought shall have an opportunity to file substantiated opposition to the
   default judgment motion and to request a hearing thereon;

   3. The Court will take up the motion for default judgment on the papers at the conclusion of
   the 14 day period. Should the motion for default judgment at that time fail to comply with Fed.
   R. Civ. P. 55, the motion will be denied with prejudice to any renewal of such motion within
   six months of the denial. Any renewed motion for default judgment may not include a request
   for interest, costs, or attorneys' fees in the matter nor will such relief be granted on any
   renewed motion for default;

   4. Necessary and appropriate action with respect to this Standing ORDER shall be taken by the
   moving party within 30 days of the date of the issuance of this ORDER. If for any reason the
   moving party cannot take necessary and appropriate action, that party shall file an affidavit
   describing the status of this case and show good cause why necessary and appropriate action
   with respect to this Standing ORDER cannot be taken in a timely fashion and further why this
   case should remain on the docket. Failure to comply with this paragraph will result in the entry
   of dismissal of the moving party's claims for want of prosecution.




                                                                               By the Court,
                                                                            /s/ - Taylor Halley
Date: August 21, 2019
                                                                                 Deputy Clerk
           Case 1:19-cv-11076-FDS Document 44 Filed 09/03/19 Page 4 of 4
           Case 1:19-cv-11076-FDS Document 42 Filed 08/21/19 Page 2 of 2

                                               APPENDIX A

                                  UNITED STATES DISTRICT COURT
                                   D~TRICTOFMASSACHUSETTS




                Plaintiff(s)

                    V.                                                        CIVIL ACTION NO:


               Defendant( s)

                                              FORM OF
                                          DEFAULT JUDGMENT




Defendant _ _ _ _ _ _ _ _ having failed to plead or otherwise defend in this action and its default
having been entered,


 Now, upon application of plaintiff and affidavits demonstrating that defendant owes plaintiff the sum
of$ _ _ _ _ _ _ _ _ that defendant is not an infant or incompetent person or in the military
service of the United States, and that plaintiff has incurred costs in the sum of$_ _ _ _ _ _ _ __


 It is hereby ORDERED, ADJUDGED AND DECREED that plaintiff recover from defendant
_ _ _ _ _ _ _ _ _ _ the principal amount of$ _ _ _ _ _ _ _ _ , with costs in the amount of
$_ _ _ _ _ _ _ _ __ and prejudgment interest at the rate of _ _% from _ _ _ _ __
to _ _ _ _ _ _ _ _ _ _ in the amount of$_ _ __ _ _ _ _ for a total judgment of
$
    - - - - - - - - - with interest as provided by law.
                                                                                By the Court,



                                                                               DEPUTY CLERK

DATED: August 21, 2019


NOTE: The post judgment interest rate effective this date is _ _%.
